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UNTTED STATES DTSTRICT COUT
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CIVIL RIGHTS COMPLAINT _
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(Rev. 7/2010)

Have you begun any other lawsuits in state or federal court relating to’
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If your answer to “A” is YES, describe each lawsuit in the space below. If
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this provision may result in summary denial of your complaint

 

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Plaintiff(s): SHWE MOOKE

__ Defendant(s): AZMBERLY SUrleR, RECH pre) HARRD 0 Mei pihel MoM,
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2. Court (if federal. court, name of the district if state court, name of

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a Type of case (for example: Was ita habeas corpus or civil rights

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al OF 27
Case 3:17-cv-00943-NJR Document1 Filed 09/01/17 Page 22 of 61 PagéID#2ZzZ-

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Bodice / SHiltaftor
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Case 3:17-cv-00943-NJR Document1 Filed 09/01/17 Page 24 of 61 Page ID#24~———

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Case 3:17-cv-00943-NJR Document1 Filed 09/01/17 Page 33 of 61 Page ID #33

eM REQUEST FOR RELIEF -

' State exactly: what you want this court to do for you. If-you are a'state or federal:

_, prisoner and seek relief which affects the fact or duration of your imprisonment (for.
example: illegal detention, restoration of: good time, expungement of records, or

- parole), you must file your claim on a habeas corpus form, pursuant to 28 U.S.C.
§§ 2241, 2254, or 2255. Copies of these forms are available from the clerk’s office.

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VL. JURY DEMAND (gheck one box below)

The plaintiff. (does. 0 does not request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF Civil, PROCEDURE It

I certify to to ‘the best oft my yy knowledge, information, and belief, that this complaintis i in: full
compliance with: Rule: 11(a)- and. 11(b) of. the Federal Rules of Civil Procedure. The .
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

  

Signed on: agest FH) 20] z_

 

 

 

 

 

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- Signature of Attomey (if any).

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Moore y. Ziegler, et al. (16-1239) IDOC No.: 000058
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Bruce Rauner

Ilinois Govornor
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Corrections Director

 
 

  

 

711 Kaskaskia Street Telephone: (618) 826-5071
Menard, iL. 62259 TDD: (800) 526-0844

MEMORANDUM
DATE: rane 10, 2013

TO: Shung Moore
BL2832

FROM: Gail Walls. RN
Health Care Unit Administrator

SUBIECT: Grievance dared 6/9/15 received 6/10/15

 

L have reviewed vour letter and offer the follawing:

Vou have a concer of Nurse Maciura not taking care of your medical needs. She saw you on nurse sick call. She
spoke with the doctor and got an order for antibiotics. Those untibiotics were signed out of stock for you, On
13/15, the next day, you were to be seen by the dectur, You went to yard instead. Please keep all schedules
appoininients, Your issue was adulressed,

Gail Walls. RN
Health Care Unit Administrator

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Moore v. Ziegler, et al. (16-1239) IDOC Na.: 000055
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Moore v. Ziegler, et al. (16-1239) IDOC No.: 000059
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ADMINISTRATIVE...
REVIEW BOARD

Moore v. Ziegler, et al. (16-1239) IDOC No.: 000060
Case 3:17-cy-00942-NJR Document1 Filed 09/01/17 Page 40 of 61 Page ID #40

 

 

RLAKHS DAPARTMENT OF CORRECTIONS
Ei Xhibi t RESPONSE TO OFFENDER'S GRIEVaNce == \\" ~9-l ©
: : | Grievance Officer's Report |
Date Received: JineTh20l§. «Date of Review: Ans h US  Grtevance Hover: GELS
Offender: Moss, Shunz 10% Bi28s2

 

Natura of Gilevance: Meutcal + Treatrent

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Facts Raviewed: All feformation submitted fo tke Grievance Officer by the olfeedes or insttuticnat stalf perraining to this issucte) being griceedt
has best iheraughly reviewed. Offender sobunitted a arrevantes dated 69-15 dad prieves medical stuf thited 10 prove adequate treatnum by net
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13-05, dhe next chy, Fou ware ti Se seen by the ductor but wus sot went. Messe keep all xelndufedl ssaciniments,

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reviewed as teted ubuve by tho HOU Acminisrate.

Gn 4-19-15 NSC - Nurse Sick Call

(ha 627/15 Sir? Your Physical Exam with Dr. Trivis REC - A J ED
On 7-25+45 by Dr, Willems “

Schodated fer Chronic skla conditions with Dr. Trust ys 327-15 SEP 0 8 015

ADMINISTRATIVE
REVIEW BOARD

 

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I Chief Administrative Officer's Response |
Date Raceived: Aum 13. 2015 w | concur I] § donet cuncur LJ Remand

Comments:

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| Offender's Appeal To The Director |

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Moore v. Ziegler, et-al+¢16-4239) IDOC No.: 000054

 

 
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Moore v. Ziegler, et al. (16-1239) IDOC No.: 000053
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Moore v. Ziegler, et al. (16-1239) IDOC No.: 000051
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Ethie Fe

Jonn Baldwin
Acting Director

Bruce Rauner
Govemor

 

The Wlinsis Department of Corrections
1301 Concordia Court, P.O. Box 19277 « Springfield, I 62794-9277 + (217) 658-2200 TDD: (800) 526-0844

  

 

 

 

Offender Name: Mean ef (h WAG Date: sf; i

Register # f i a LL. ? db | a

Facility: _- IY lenwrta OC ’

This is in response to your grievance received on ALS i i ; . This office has determined the iasue will be addressed without

a formal hearing. A review of the Grievance, Grevanc? Of cerfCAO response to the grlevance has been conducted, Fora
grievance that is direct review by the ARB, a review of the Grievance has been conducted.

e Gri
ie Grievance Number: gx fee - ZS Griev Loc: Lohen ul?

     
 

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Your Issue regarding: Grievance dated:

 

 

 

 

© Transfer denied by the Facllity or Transfer codéaihator © Commissary

© Dictary © Trust Fund

© Personal Property ; © Conditions (cell conditions, cleaning supplies)
O Mallroom/Publicationa : ©. Distiplinary Report dated

 

 

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B. Other Jf ee cele = Fes eft _ofs

Based on a review of afl available information, this office has dataminisd your grievance to be: Heit an

© Assignment (job, cell)

 
 

 

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© Affirmed, Warden lsadvisedtoprovidea © Denied as the facility Is following the procedures b
wrilten response of corrective action to this office by outlined in DRS25.
© Denied as Cell Assignment/Housing is consistent with
© Denied, In accordance with DRSO4F, this is an the Department's determination of the appropriate
administrative decision. Operational capacity of each facility,
Dented, this office finds the issue was appropriately © Denied as procedures were followed in accordance with
ddressed by the facility Administration. OR 420 for removal/denial of an offender fromifor an
assignment.
© Denled in accordance with ADUS.03.103A (Monetary *
Compensation for Inmate Assignments) © Denied as this office finds no violation of (he offender's
. 7 dua process in accordance with DR504.60 and
© Denled, as the transfer denial by the facilily/TCO on DRS04.90, This office is reasonably satisfied the
was reviewed in accordance wilh offender committed (he offense cited in the report.

iansfer procedures and |s an administrative decision.

 

 

 

 

Other:
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FOR THE BOARD: { Boro £ B: CONCURRED; wy _ si
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Missiom To serve vemaatl iA Iinois and increase public safety by promoting positive change in
offender behavior, operating successful reentry programs, and reducing victimization.

Modes tPA? LEME (16-1239) IDOC No.: 000050
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JUN 2.8 2016

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Moore v. Ziegler, et al. (16-1239) IDOC No.: 000049
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Case 3:17-cv-00943-NJR Document1 Filed 09/01/17 Page 46 of 61 Page ID #46

Exhibit (5 ue Wed-lO

ILLINOIS DEPARTMENT OF CORRECTIONS.

Administrative Review Board
Return of Grievance or Correspondence

Offender: f Neen.e. Shung B3 Lag 3 a
Faoility: IN enart! A :
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f Grievance: Facility Grievance # (t applicable) 4? Dated: or CJ Correspondence
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Received: Af Ms Regarding: hal. lindived = Vi Sie » ¢ My, Loe y Kay ; a
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The attached grievance or correspondence is being returned for the following reasons:

 

Additional Information required:
Provide a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
Cee ee aon to apacal . including the Grievance Officer's and Chief Administrative

Provide dates of disciplinary reports and facility where incidents occurred.

OO O00

Unable to determine nature of grievance or comespondence, submit additional spect ji

Ir : pecific information.

grievance or correspondence with the additional information requested to; Administrative Review Board return the attached
Office of {nmate issues
1301 Concordia Court
Springfield, IL 62794-9277

 

 

Misdirected:
Contact your correctional counselor regarding this issue.

n of Statutory Sentence Credits to Adjustment Committee. if the request ts denied by the facility, utilize the

Request restoratio
in Department Rule 504 for further consideration.

offender grievance process outlined i
Contact the Record Office with your request or to provide additional information.

Personal property issues are to be reviewed at your current facility prior to reviaw by the Administrative Review Board.
Address concerns to: Hillnois Prisoner Review Board

319 E. Madison St., Sulte A

Springfield, IL 62706

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No further redress:
0 Award of Supplemental Sentence Credits are discretionary administrat

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Not submitted in

(C1 This office previously addressed this issue on a .
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ive decisions; therefore, this issue will not be addressed

the timeframe outlined in Department Rule 504; therefore. this issue will not be addressed further,

0 No justification provided for additional consideration.

 

 

   

 

 

 

 

 

Leslie AMcCarty. Ant if L

leted by: Lesile McCarty
.Somp sony Print Name Signature Date

Oistribution: Offender Printge un Recycle Paper DOC 0074 (Rev.4/2013)
inmate issues
 

 

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(LLINOIS DEPARTMENT OF CORRECTIONS Z x j ib } t T
Administrative Review Board
Return of Grievance or Correspondence
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Facility: Wmartl f CC "
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Bd Grievance: Facility Grigvance # ( appicabte) Diabet "4.2 for (1) Correspondence: Dated:
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"Regarding:

 

 
 

 

 

The attached grievance or correspondence Is being returned for the folowing reasons:

 

 

Additional information required:
(1 Provide a copy of your written Offender's Grievance, DOC 6048, Including the counselor's response, if applicable.

oO Provide a copy of the Response to Offender’s Grievance, DOC 0047, Including the Grievance Officer's and Chief Administrative
Officer's response, to apnesl,

(1 Provide dates of disciplinary reports and facility where incidents occurred.

CO Unable to determine nature of grievance or correspondence; submit additional specific Information. Please returm the attached
grievance or correspondence with the additional information requested to: Administrative Review Board
Office of Inmate Issues
1301 Concordia Court
Springfield, |L 62794-9277

 

 

Misdirected:
Contact your correctional counselor regarding this issue,

Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is dented by the facility, utilize the
offender grievance process outlined in Department Rute 504 for further consideration.

Contact the Record Office with your request or to provide additional information.
Personal property Issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

Address concems to: Iliinols Priscner Review Board
319 E. Madison St., Suite A
Springfield, IL 62706

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No further redress: .
{] Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this Issue will not be addressed
further.

Not submitted In the timeframe outlined in Department Rute 604; therefore, this issue will not be addressed further.
(1 This office previously addressed this Issue on

 

 

 

 

 

 

 

 

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Inmate Issues

Moore v. Ziegler, et al. (16-1239) IDOC No.: 000076
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